Case 08-13141-BLS Doc 6414-3 Filed 11/11/10 Page 1 of 22

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. (Jointly Administered)
AFFIDAVIT OF SERVICE

STATE OF DELAWARE)
) ss
NEW CASTLE COUNTY )

Frances A. Panchak, being duly sworn according to law, deposes and says that she
is employed by the law firm of Landis Rath & Cobb LLP, co-counsel to the Official Committee
of Unsecured Creditors in the above referenced cases, and on the 11th day of November, 2010,
she caused a copy of the following:

NOTICE AND MOTION OF THE OFFICIAL COMMITTEE OF UNSECURED
CREDITORS FOR ENTRY OF AN ORDER GRANTING LEAVE, STANDING AND
AUTHORITY TO COMMENCE, PROSECUTE, SETTLE AND RECOVER
CERTAIN CAUSES OF ACTION ON BEHALF OF THE DEBTORS’ ESTATES
ARISING UNDER AND PURSUANT TO 11 U.S.C. §§ 547 AND 550

to be served upon the parties identified on the attached list in the manner indicated.

fttaner G@). Franthahe

Frances A. Panchak

SWORN TO AND SUBSCRIBED before me this 11th day of November, 2010.

bade He a ara?

Notary Public
My Commission Expires:

: ERS
NOTARY PUBLIC
_ STATE OF DELAWARE
My commission exnires June 20, 2044

{698.001-W0010932.}
Case 08-13141-BLS Doc 6414-3 Filed 11/11/10 Page 2 of 22

Tribune Company, et al.
08-13141 (KJC)

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